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APPENDIX 2 to PLAINTIFFS’ FINAL INVALIDITY CONTENTIONS
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               U.S. Patent Application Publication 2002/029506 (Filed Nov. 16, 2001, Published Mar. 14, 2002)
Language from Patent-In-Suit                                    Disclosure in Reference
1. A grip extender in combination with a handgun, comprising:   ¶[0002]: “The present invention relates to a new model of
                                                                extensions for automatic pistol magazines.”

                                                                ¶[0008]: “The complement in question . . . also allows . . .
                                                                increasing the total extension of the handle of said automatic
                                                                pistols, by incorporation thereof to the total grip of the pistol,
                                                                increasing the total grasping area of the pistol in the user’s hand
                                                                and allowing a better accommodation of the fingers on the pistol
                                                                handle . . .”
a handgun using a variety of different model magazines,         ¶[0001]: “As is known in the state of the art, the small-size
                                                                automatic pistols are provided with means for the storage of
                                                                cartridges in the body of clip loaders or magazines, . . . having a
                                                                given number of stored cartridges.”

                                                                ¶[0004]: “It is an object of the present model to provide a
                                                                complement or extension for automatic pistol magazines, in
                                                                order to increase the capacity of said magazines in a practical
                                                                and quick manner . . .”
a grip extender with symmetrical interior side walls,           As shown in Figure 4 of the reference, the side walls are
                                                                symmetrical to one another:
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                                                               To the extent the figure is deemed not to show symmetrical
                                                               interior side walls, the reference discloses that the invention is
                                                               “susceptible of form . . . arrangement of parts and details of
                                                               operation.” See ¶[0024].
an exterior front wall configured to a user’s grip,            ¶[0008]: “The complement in question . . . also allows . . .
                                                               increasing the total extension of the handle of said automatic
                                                               pistols, by incorporation thereof to the total grip of the pistol,
                                                               increasing the total grasping area of the pistol in the user’s hand
                                                               and allowing a better accommodation of the fingers on the pistol
                                                               handle, since said extension is provided with a recess on the
                                                               front portion thereof, facilitating the support of the user’s finger
                                                               on said recess.”

                                                               ¶[0020]: “. . .said secondary body 7 . . . possessing on the front
                                                               portion thereof said front wall 6 having the outer portion
                                                               provided with an anatomical concave shape 5 for fitting of the
                                                               user’s finger”

and a rear wall,                                               ¶[0020]: “. . .said secondary body 7 . . . with the rear portion
                                                               thereof . . .”
for use with the handgun magazine to fill a gap between the    ¶[0008]: “The complement in question . . . also allows a better
magazine and the handgun,                                      closing of the lower portion of said magazine, replacing the
                                                               original closure, thereby providing a better finish for said
                                                               magazine . . .”
with said magazine having an open top for loading ammunition   Figure 3 of the reference shows that the magazine has an open
cartridges                                                     top for loading ammunition cartridges:
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and a closed bottom for containing said ammunition cartridges,    The reference mentions that it is “replacing the original closure”
said closed bottom ending in a floor plate, of determinable       at the bottom of the magazine. See ¶[0008]. However, it would
thickness, with a lower surface and an upper surface, with said   be known to a person of ordinary skill in the art that, if it wished
floor plate also having a peripheral surface larger than a        to utilize the Wollman invention solely as a grip extender (a
peripheral surface of a corresponding body of the magazine,       purpose among the purposes of the invention contemplated by
                                                                  the inventor), the “closed bottom” would be “original closure” of
                                                                  the “conventional magazine 1” (¶[0018]), i.e., “a floor plate, of
                                                                  determinable thickness, with a lower surface and an upper
                                                                  surface, with a floor plate also having a peripheral surface larger
                                                                  than a peripheral surface of a corresponding body of the
                                                                  magazine.”
said grip extender further comprising:

   a) a one-piece collar slideably mounted from the open top      As noted in Figure 4, the reference’s invention concerns a collar.
      of said magazine and subsequently seated at the closed      Although the reference describes a preferred embodiment in
      bottom of said magazine thereby substantially filling any   which the main body of the collar is composed of two pieces,
      gap resulting from a length of the magazine protruding      slideably mounted from the side, as noted in the reference, the
      from a handgun when said magazine is engaged into said      invention is “susceptible of modification to form, . . . and details
      handgun,                                                    of operation,” and is “intended to encompass all such
                                                                  modifications.” ¶[00024]. A person of ordinary skill in the art,
                                                                  therefore, could contemplate a variant of the invention involving
                                                                  a one-piece collar slideably mounted from the open top of said
                                                                  magazine.”

                                                                  As shown in Figure 4, the collar is “seated at the closed bottom
                                                                  of said magazine.” A person of ordinary skill in the art would
                                                                  inherently know that, upon preparing collar-shaped grip extender
                                                                  received about the base plate of a magazine, it would naturally
                                                                  “substantially fill[] any gap resulting from a length of the
                                                                  magazine protruding from a handgun when said magazine is
                                                                  engaged into said handgun.”
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   said collar having a size and shape sufficient to            As shown in Figure 3, a collar-shaped extender of the type
   elastically receive and grip the magazine and magazine       contemplated by the reference would have “a size and shape
   floor plate thereby securely retaining the collar            sufficient to elastically receive and grip the magazine and
                                                                magazine floor plate thereby securely retaining the collar.”

                                                                Furthermore, the reference describes “using injected materials . .
                                                                . to provide a complement of easy fitting and assembly,”
                                                                ¶[0007], and being “made of easily moldable material,” ¶[0011].
   and having at least one pair of opposed tangs oriented       The reference describes the extension being “fitted to the lower
   inward from the interior side walls of the collar; and       end of said automatic pistol magazines by means of sets of
                                                                guides and tongues, allowing a simple and efficient fitting.”
b) further comprising at least one pair of opposed ribs, said   ¶[0011]. The extension is also described as “fitting by means of
   ribs oriented inward from the interior side walls of the     guides 9 . . . to said magazine 1. Such guides have a simple,
   collar,                                                      sliding inner fitting to the lateral ribs 4 projecting outside
                                                                perpendicularly to the main axis of magazine 1.” ¶[0018].
   with a bottom shoulder of said ribs distanced above the
   tangs, said distance approximately equal the                 Also, see Figure 5:
   determinable thickness of the magazine floor plate; and




c) when sliding the grip extender into its final position on    See Figure 5, showing fixation of a magazine flange between a
   the magazine, a step of the said tangs engages the lower     rib and a tang.
   surface of the floor plate and captures the corresponding
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           upper surface of floor plate against said the bottom
           shoulders of the opposed ribs.



 Language from Patent-In-Suit                                      Disclosure in Reference
 4. The grip extender claim 1 further comprising a lower surface   See above (regarding claim 1), and see also Figure 5, which – in
 depending below the magazine floor plate thereby protecting       an embodiment of the invention used as a grip extender –
 said magazine from impacts with surfaces when the magazine is     demonstrates at the bottom of Figure 5 “a lower surface
 released from a handgun during reloading.                         depending below the magazine floor plate thereby protecting
                                                                   said magazine from impacts with surfaces when the magazine is
                                                                   released from a handgun during reloading.”

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